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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   HENRY Z. CARBAJAL III
     GRANT B. RABENN
 3   Assistant U.S. Attorneys
     2500 Tulare Street, Suite 4401
 4   Fresno, California 93721
     Telephone: (559) 497-4000
 5   Facsimile: (559) 497-4099
 6   Attorneys for the
     United States of America
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                             )   CASE NO.:    1:11-cr-00274-LJO
11   UNITED STATES OF AMERICA,               )
                                             )
12                    Plaintiff,             )
                                             )   STIPULATION AND PROTECTIVE
13                                           )   ORDER BETWEEN THE UNITED
                 v.                          )   STATES AND DEFENDANTS
14                                           )
                                             )
15   ALFONSO CASAREZ,                        )
     ROSEMARY FIERROS,                       )
16   VICTOR VASQUEZ,                         )
     ANGEL OCIRIS GUTIERREZ,                 )
17   ALCIDES URIAS,                          )
     DIMAS DOMINGUEZ MARTINEZ,               )
18   JESUS DOMINGUEZ MARTINEZ,               )
     LUIS ALBERTO MORENO DELGADO,            )
19   ARMANDO TREYES ANDRADE,                 )
     ARMANDO SOLORIO HEREDIA,                )
20   JOSE MANUEL GARCIA,                     )
     ARMANDO MARAVILLA, and                  )
21   CASSANDRA CASAREZ FIERROS,              )
                                             )
22                    Defendants.            )
                                             )
23
24        WHEREAS, the discovery in this case is voluminous and contains a
25   large amount of personal and confidential information including but not
26   limited to Social Security numbers, dates of birth, bank account
27   numbers,   telephone   numbers,   and   residential     addresses     (“Protected
28   Information”); and
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 1        WHEREAS, the parties desire to avoid both the necessity of large
 2   scale redactions and the unauthorized disclosure or dissemination of
 3   this information to anyone not a party to the court proceedings in this
 4   matter;
 5        The parties agree that entry of a stipulated protective order is
 6   appropriate.
 7        THEREFORE, Defendants, by and through their counsel of record
 8   (“Defense Counsel”), and the United States of America, by and through
 9   Assistant United States Attorney Henry Z. Carbajal III, hereby agree and
10   stipulate as follows:
11        1.     This Court may enter a protective order pursuant to Rule 16(d)
12   of the Federal Rules of Criminal Procedure, and its general supervisory
13   authority.
14        2.     This Order pertains to all discovery provided to or made
15   available    to   Defense   Counsel   as   part   of   discovery   in   this   case
16   (hereafter, collectively known as “the discovery”).
17        3.     By signing this Stipulation and Protective Order, Defense
18   Counsel agrees not to share any documents that contain Protected
19   Information with anyone other than Defense Counsel attorneys, designated
20   defense investigators, and support staff.          Defense Counsel may permit
21   the Defendant to view unredacted documents in the presence of his
22   attorney, defense investigators, and support staff.           The parties agree
23   that Defense Counsel, defense investigators, and support staff shall not
24   allow the Defendant to copy Protected Information contained in the
25   discovery.        The   parties   agree    that    Defense   Counsel,     defense
26   investigators, and support staff may provide the Defendant with copies
27   of documents from which Protected Information has been redacted.
28        4.     The discovery and information therein may be used only in



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 1   connection with the litigation of this case and for no other purpose.
 2   The discovery is now and will forever remain the property of the United
 3   States of America (“Government”).            Defense Counsel will return the
 4   discovery to the Government or certify that it has been shredded at the
 5   conclusion of the case.
 6        5.   Defense Counsel will store the discovery in a secure place and
 7   will use reasonable care to ensure that it is not disclosed to third
 8   persons in violation of this agreement.
 9        6.   Defense    Counsel   shall    be     responsible   for   advising   his
10   Defendant, employees, and other members of the defense team, and defense
11   witnesses of the contents of this Stipulation and Order.
12        7.   In the event that Defendant substitutes counsel, undersigned
13   Defense Counsel agrees to withhold discovery from new counsel unless and
14   until substituted counsel agrees also to be bound by this Order.
15        IT IS SO STIPULATED.
16   DATED: September 29, 2011                   BENJAMIN B. WAGNER
                                                 United States Attorney
17
18                                     By:       /s/Henry Z. Carbajal III
                                                 HENRY Z. CARBAJAL III
19                                               Assistant U.S. Attorney
20
     DATED: September 29, 2011         By:       /s/Marc Days
21                                               MARC DAYS
                                                 Attorney for Defendant
22                                               ALFONSO CASAREZ
23
     DATED: September 29, 2011         By:       /s/James R. Homola
24                                               JAMES R. HOMOLA
                                                 Attorney for Defendant
25                                               ROSEMARY FIERROS
26
     DATED: September 29, 2011         By:       /s/Martin Taleisnik
27                                               MARTIN TALEISNIK
                                                 Attorney for Defendant
28                                               VICTOR VASQUEZ



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 1
     DATED: September 29, 2011         By:       /s/Daniel A. Bacon
 2                                               DANIEL A. BACON
                                                 Attorney for Defendant
 3                                               ANGEL OCIRIS GUTIERREZ
 4
     DATED: September 29, 2011         By:       /s/David J. Cohen
 5                                               DAVID J. COHEN
                                                 Attorney for Defendant
 6                                               ALCIDES URIAS
 7
     DATED: September 29, 2011         By:       /s/Julius M. Cruz
 8                                               JULIUS M. CRUZ
                                                 Attorney for Defendant
 9                                               DIMAS DOMINGUEZ MARTINEZ
10
     DATED: September 29, 2011         By:       /s/Dale A. Blickenstaff
11                                               DALE A. BLICKENSTAFF
                                                 Attorney for Defendant
12                                               JESUS DOMINGUEZ MARTINEZ
13
     DATED: September 29, 2011         By:       /s/Tina M. Barberi
14                                               TINA M. BARBERI
                                                 Attorney for Defendant
15                                               JOSE MANUEL GARCIA
16
     DATED: September 29, 2011         By:       /s/Gary L. Huss
17                                               GARY L. HUSS
                                                 Attorney for Defendant
18                                               LUIS ALBERTO MORENO DELGADO
19
     DATED: September 29, 2011         By:       /s/Peter M. Jones
20                                               PETER M. JONES
                                                 Attorney for Defendant
21                                               ARMANDO TREYES ANDRADE
22
23   DATED: September 29, 2011         By:       /s/David E. Jones
                                                 DAVID E. JONES
24                                               Attorney for Defendant
                                                 ARMANDO SOLORIO HEREDIA
25
26
     DATED: September 29, 2011         By:       /s/Barbara H. O’Neill
27                                               BARBARA H. O’NEILL
                                                 Attorney for Defendant
28                                               ARMANDO MARAVILLA



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 1
     DATED: September 29, 2011            By:       /s/Eric K. Fogderude
 2                                                  ERIC K. FOGDERUDE
                                                    Attorney for Defendant
 3                                                  CASSANDRA CASAREZ FIERROS
 4
     IT IS SO ORDERED.
 5
     Dated:    October 4, 2011               /s/ Lawrence J. O'Neill
 6   b9ed48                              UNITED STATES DISTRICT JUDGE
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